                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION



     B.X., a minor,                                 §
                                                    §
            Petitioner/Plaintiff,                   §
                                                    §
            v.                                      §
                                                    §
     JONATHAN HAYES, in his official ca-            §           CIVIL ACTION NO. 1:19-cv-00017
     pacity as Interim Director of the Office of    §
     Refugee Resettlement, and SERVANDO             §
     BARRERA, in his official capacity as           §
     Federal Field Specialist, Office of Refu-      §
     gee Resettlement,                              §
                                                    §
            Respondent/Defendant.                   §




                               DECLARATION OF AMY COHEN M.D.


1.        I, Amy Cohen M.D., make the following declaration based on my personal knowledge and

          declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true

          and correct.

2.        My name is Dr. Amy J. Cohen. I am licensed to practice medicine in the state of California.

          I am a Child Psychiatrist with over 30 years of experience working with traumatized pop-

          ulations of children and adults, most recently with the asylum-seeking population who have

          been affected by separation policies. I have published articles on the impact of trauma on

          children separated from parents. I have also reviewed the scholarly and research literature




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      on the impact of both separation and detention/institutionalization on the mental and phys-

      ical health of asylum-seeking children.

 3.   I received my medical degree from the Perelman University of Pennsylvania School of

      Medicine where I graduated with honors, receiving the Apfel Award for excellence in Psy-

      chiatry. I served as assistant to Dr. Albert Solnit, then Director of the Yale Child Study

      Center and author (with Anna Freud and Donald Goldstein) of “Beyond the Best Interests

      of the Child”. I received my internship, residency and child fellowship training at Harvard

      Medical School programs and completed my training in 1989.

 4.   I have been asked to consult on the case of B.X. by his attorney, Mr. Ricardo de Anda. In

      that capacity, I conducted a two-hour interview with B.X. on February 14, 2019 at the

      BCFS Shelter in Raymondville, Texas where he is currently confined. I subsequently

      conducted additional two-hour interviews with his father, David, by telephone (with use of an

      interpreter) and with Holly Sewell, who - with her husband - has been requested and

      authorized by B.X.’s family to serve as sponsor to B.X while his father is appealing his

      deportation.

 5.   I am submitting this declaration in support of Mr. de Anda’s request that B.X. be released

      to Holly and Matthew Sewell in an expedited manner. It is my opinion that any delay in

      releasing B.X. will more likely than not result in protracted if not irreparable harm to B.X’s mental

      and physical health.

6.    As per B.X.’s father (David), he and B.X. fled Guatemala in May of 2018, following death

      threats by cartel members in which they declared their intention to kill both David and B.X.

      A near-fatal attack on David because of his evangelical preaching in November of 2017 and,

      following a 10-day hospitalization for knife wounds, David returned home only to be told that his

      family would now be targeted as well, B.X., then 8 years old, was singled out.


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7.    B.X. recalls his father’s injuries and his extreme fear during his father’s recovery. Terrified

      for the safety of their son, David and his wife worked to raise the money for an escape to

      asylum in the United States. B.X was deeply distressed by the departure from his mother,

      his siblings and his home but was told that David needed to seek work elsewhere and that the

      family would quickly follow.

8.    David reports that the journey through Mexico was terrifying for both him and B.X. Father

      and son were given little food and water and were transported in a sweltering trailer-truck

      crammed with many others fleeing violence in Honduras. David often gave his meagre

      rations to his son and would stand for hours so that his small child might have the room to lie

      down and sleep in the crowded vehicle. After days of this, father and son were locked into

      a house uncertain of why or when they would get out. Finally, they were transported to the

      Rio Grande where, in the middle of the night, they were packed onto a small raft and sent

      across to Texas.

9.    Once in the United States, B.X. and his father were picked up by CBP officials and taken

      to the McAllen, Texas detention facility where they were initially placed together in a

      fenced-in and freezing enclosure where lights remained through day and night. They were

      compelled to sleep on the cold floor insufficiently warmed only by thin mylar blankets.

10.   Four days after their arrival, David reports that they were taken into a small office-type

      room where he was shackled hands and feet in front of his son and told that B.X. would be

      taken from him. He states that his child began to scream and cry and clung to his father. David

      reports that B.X. was abruptly and roughly pulled away and “dragged across the room like he was a

      dog”.




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11.   B.X. has now spent more than 1/10 of his young life in government institutions. Since being

      taken from his father and placed in ORR custody, B.X. has been placed in 4 different

      shelters. He was moved in November of 2018, again in December of 2018 and finally in

      January of 2019 to the Raymondville facility where he currently resides. In none of these

      institutions have staff spoken his native, indigenous language. In one of the shelters, the

      other children spoke only English.

12.   These moves have meant that B.X. has had to adapt to new staff, new rules and new chil-

      dren and has not been able to maintain any of the relationships which he may have built, and

      which may have helped him to counterbalance the terrible losses and isolation he suffers.

      His father reports that he is limited to 1 brief ten-minute call per week with his family. This

      may be less frequent, as David states that a call which fails to go through is not re-attempted

      and B.X. must wait another week before the facility attempts to contact his family again.

      As a consequence, B.X. may go for 2 weeks or longer with no family contact at all. During

      our interview he was most anxious to see if he could possibly have a video call with his

      father

13.   His father reports that B.X. expresses distress and frustration over his protracted confine-

      ment and has been chronically upset about and fixated on when he will get out. He expresses

      feelings of betrayal that so many weeks and months pass without his release. At times, he

      ex- presses hopelessness that it will ever happen at all.

14.   B.X. has “met” by video conference the Sewell family who his parents would like to spon-

      sor him while they await the results of David’s deportation appeal. He has been taken on a

      virtual tour of their home, met their children and been invited to ask questions. B.X. is aware that

      he would temporarily live with the Sewells and describes his eagerness to do so.




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15.   Many scholarly articles and research address the fact that institutionalized asylum-seeking

      children often suffer what is likely irreversible and certainly protracted psychological as

      well as medical/developmental damage as a consequence of their institutional confinement

      and that children who are instead released into the community fare far better. A number of

      factors place children at especially high risk, including:

                 - Pre-confinement trauma

                 - Young age and developmental stage

                 - Long duration of confinement

      Indeed, the longer the confinement, the greater the likelihood that the child will suffer more

      severe medical consequences of a longer duration.

16.   B.X.’s age, the trauma he has suffered - particularly in the fact and nature of his separation

      from his father - and especially the duration of his confinement place him at extremely high

      risk of irreversible damage due to toxic stress. Children experience time differently than do

      adults. For B.X., these months are experienced as years and every day of delay in his release

      feels more a week.

17.   Given all of these factors, there is no doubt that further delay of B.X.’s release is increas-

      ingly likely to result in long-term and possibly irreversible, physiological and

      developmental impairment due to, among factors, toxic stress.

18.   I have reviewed background reports from the FBI and the Texas Department of Public

      Safety, on Holly and Matthew Sewell and have interviewed Holly Sewell at length. I have

      found her to be a deeply caring and intelligent woman who, with her husband, has made this

      commitment




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      to caring for B.X. thoughtfully and with healthy motives. Holly and Matthew’s dedication

      to caring for B.X. has been exemplified through the lengths to which they have been willing

      to go in order to be vetted and approved, including contacting 5 different ORR-contracted

      fostering facili- ties to which they were willing to apply. Ms. Sewell expresses an acute

      awareness of B.X’s unique needs and appears willing to do all that might be required to meet

      those needs. For example, as I described potential issues with a child who has undergone the

      sort of trauma that B.X. has endured she asked me detailed and appropriate questions

      including whether I might refer them to a suitable therapist and whether this was a service

      which they should set up right away. They have expressed the wish to sustain an ongoing

      and close relationship with B.X’s parents so that they might mini- mize the impact of the

      family separation and offer him as much continuity with the parenting style of his parents as

      possible. They have demonstrated the sincerity of this wish by sustaining contact with David

      through these many months of seeking to sponsor B.X.

19.   I believe that any alternative to placement with the Sewells - including placement in another

      foster home - would not only fail to serve B.X.’s best interests but would likely result in an

      additional traumatic burden for him. The Sewell’s are now a family who B.X. has not only

      met at length but has identified as surrogates for his parents. To some degree, B.X. has been

      sustained and soothed over these long months by the image of the Sewells and their home as

      the place where he will stay while awaiting his father’s return. As people who his parents

      now know and to whom they have conveyed all that is needed to care for him, for B.X., the

      Sewell’s are now true surrogates for his family and his placement with them would serve as

      the very best mitigator against further pain and injury from the separation from his family.

      Based on all of these factors I can unequivocally state that Matthew and Holly Sewell are

      extraordinarily well suited to provide for the emotional and other needs of B.X. to an extent

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      rarely found in foster families.

20.   As of March 14, 2019, I have been informed that ORR plans to transfer B.X to a foster care

      center in San Antonio. It is my professional opinion that this is a very dangerous plan which

      is likely to only compound B.X.’s trauma and pain, negatively impacting his psychiatric,

      develop- mental and physiologic prognosis. This would be his fifth transfer by ORR to

      placement with another set of strangers and would, I believe, represent a serious blow to

      B.X.’s already fragile mental health. Placement in a foster home program would be

      experienced by this small child as yet another damaging, frightening and discouraging

      trauma. Further, such a placement would run contrary to the very rule which ORR has put

      forth as a reason for rejecting the Sewells; Refusal to place children with adults which whom

      he and his family have no pre-existing relationship. For 10 months, B.X. has endured these

      paradoxical placements, being moved again and again, always in the charge of complete

      strangers. Another foster family would represent yet another set of strangers. As B.X.’s

      anticipation of placement in the happy home of the Sewells has sustained him through these

      last months of misery and isolation, moving him yet again to yet another set of strangers

      would only deepen B.X.’s despair and mistrust of adults, compounding his traumatic

      experience and rendering any recovery from his past trauma infinitely more difficult and

      likely to increase his risk of permanent psychological and physiological impairment.

      Further, it is unlikely that any foster family in which B.X. was placed would be able to match

      the unique qualities which make the Sewell household such an ideal one for this young,

      traumatized child who has already suffered nearly a year of separation from his family,

      institutionalization and placement with strangers.




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21.   It is for these reasons that I strongly urge the expedited release of B.X. to the care of the

      Sewells. Further, I believe - as stated above - that any delay in B.X.’s release or alternative

      placement is very likely to add to his suffering and increase the long-term risk to his physical and

      psychological health. I believe that the urgency of the risks to his well-being mandate resolution to

      his confinement as soon as possible.

22.   I declare under the penalty of perjury that the foregoing is true and correct based on my own

      personal knowledge.




                                             EXECUTED ON THIS            14th    , day of March 2019



                                             Amy Cohen, M.D.




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